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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                WESTERN DIVISION

Sonja Benjamin and Jessica McClain,                                3:21-cv-50473
individually and on behalf of all others
similarly situated,
                                  Plaintiffs,

                                                              Stipulation of Dismissal
                    - against -
                                                                  With Prejudice

The Hartz Mountain Corporation,
                                  Defendant
       Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs Sonja

Benjamin and Jessica McClain and Defendant The Hartz Mountain Corporation, through their

undersigned counsel, hereby stipulate and agree that this proceeding is dismissed, in its entirety,

with prejudice, each party bearing its own fees and costs.

Dated: May 18, 2022

Sheehan & Associates, P.C.                            Kelley Drye & Warren LLP

/s/Spencer Sheehan                                    /s/ Jaclyn M. Metzinger
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